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 1                       UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
 2                               ROME DIVISION

 3
      BLACKSMITH OTR, LLC,            )
 4                                    )
              Plaintiff,              )
 5                                    ) Case Number
                     v.               ) 4:23-cv-00279-WMR
 6                                    )
      OTR WHEEL ENGINEERING, INC.,    )
 7                                    )
              Defendant.              )
 8                                    )
                                      )
 9    OTR ENGINEERED SOLUTIONS, INC., )
                                      )
10            Plaintiff,              )
                                      ) Case Number
11                   v.               ) 4:24-cv-00186-WMR
                                      )
12    BLACKSMITH OTR, LLC,            )
                                      )
13            Defendant.              )
                                      )
14

15
                        Transcript of Motions Hearing
16                 before the Honorable William M. Ray, II,
                         United States District Judge
17                        January 16, 2024, 9:30 a.m.

18

19

20            Proceedings recorded by mechanical stenography,
      transcript produced by computer.
21    ________________________________________________________

22

23
                      Geraldine S. Glover, RPR, CRR, RCR
24                      Federal Official Court Reporter
                      75 Ted Turner Drive, SW, Suite 1714
25                        Atlanta, Georgia 30303-3309
                         UNITED STATES DISTRICT COURT
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 1

 2    A P P E A R A N C E S:

 3

 4    On Behalf of Blacksmith OTR, LLC:

 5          Tom BenGera
            Samuel Alexander Long, Jr.
 6    Shumaker, Loop & Kendrick, LLP-NC

 7          Robert Harris Smalley, III
      McCamy, Phillips, Tuggles & Fordham, LLP
 8

 9    On Behalf of OTR Wheel Engineering/OTR Engineered Solutions:

10           James William Cobb
             Cameron Blaine Roberts
11    Caplan Cobb LLC

12          Stephen M. Schaetzel
      Meunier Carlin & Curfman, LLC -Atl
13

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                                                                               3


 1                              P R O C E E D I N G S

 2                THE COURT:     All right.     Good morning.

 3                Y'all can have a seat, please.

 4                Okay.   There's been a lot of excitement in the

 5    courthouse with people bringing tires in.             That's not

 6    something that happens every day.

 7                Give me just a second to get the right case up on my

 8    computer.

 9                All right.     So there's two cases that are here

10    involving the same parties in different positions.                The --

11    there's the original case, which is 24-cv-186, OTR Wheel

12    Engineering, Inc. v Blacksmith OTR, LLC.             Actually, is that

13    the new case?

14                MR. COBB:     That's the 2024 case, Your Honor.

15                THE COURT:     Okay.   So that's the -- actually the

16    second case then.        All right.     That case -- let me just back

17    up.     Let me just ask some questions about who is going to

18    speak today.

19                Who's going to speak for OTR Wheel?

20                MR. COBB:     Your Honor, James Cobb.         I will be

21    presenting probably the entire presentation on behalf of OTR

22    Wheel.    Though, I'm joined by my co-counsel, Steve Schaetzel.

23    And Steve is our patent guru.           So if any issues come up that

24    are more in his wheelhouse than mine, I may ask him to address

25    them.
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                                                                                4


 1                THE COURT:     Schaetzel?

 2                MR. SCHAETZEL:        Yes, sir.

 3                THE COURT:     All right.     Thank you.

 4                And then for Blacksmith OTR?

 5                MR. SMALLEY:     Good morning, Your Honor.          Robert

 6    Smalley from Dalton.        My co-counsel, Tom BenGera, is going to

 7    take most of the argument for us.             Alex Long, my other

 8    co-counsel -- both from the Shumaker firm in Charlotte -- will

 9    be arguing for us this morning.

10                THE COURT:     All right.     Thank you.

11                I'm sorry.     Tom.     And who is the other one?

12                MR. LONG:    Alex Long.

13                THE COURT:     Alex Long.     You may have Samuel on the --

14    well, I do have -- I've got both names.             Alex Long.      Okay.

15    Thank you, sir.

16                All right.     So let me -- and then let me frame both

17    numbers, put both numbers into the record.                So it's the 23

18    case -- I should have looked at the first number.                 I was

19    looking at the lower -- the last number of the 23 case, which

20    is the original case, 23-cv-279.              And then there's the case

21    filed last year, late in the year, 24-cv-186, that involved

22    the same parties but in different positions.

23                So let me tell you what I remember about the

24    lawsuits.     So I'm going to refer to today, just because I'm

25    going to think about it in the order that these cases began,
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                                                                            5


 1    I'm going to refer to Blacksmith as the plaintiff and I'm

 2    going to do that throughout.      And I would ask y'all to do that

 3    too.   It gets confusing when we start going -- you know,

 4    particularly in federal practice when a bunch of stuff happens

 5    in the same case and you've got a plaintiff and a counter --

 6    and they're a counter-defendant and all that stuff.             So I'm

 7    just going to -- I'll just refer to the plaintiff today as

 8    Blacksmith and I'm going to refer to the defendant as OTR.

 9    That doesn't mean that I am forecasting anything about the

10    propriety of the first case still being open or not.             It's

11    just easier for me to think of it that way.

12               The plaintiff filed -- let me back up.          I think I

13    remember that these two companies sprung out of one

14    organization at one time.      And I might not have these facts

15    exactly right.    But as these companies were created from the

16    origin, the plaintiff ended up basically with the intellectual

17    property, the designs, if you will, the defendant was more in

18    the retail and/or manufacturing distribution side of the

19    product, which involves tires.

20               The plaintiff's original complaint was to some degree

21    that the defendant was violating its intellectual property

22    rights by not paying the requisite royalties that was owed for

23    the defendant's use of the plaintiff's design.            I'm not sure

24    if that was pursuant to a contract or if the defendant just

25    kind of allegedly kept that design and was using it in a
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                                                                            6


 1    pirated kind of way.     But whatever the allegations were, the

 2    case was settled with a settlement agreement.

 3               Settlement agreement provided in part a process

 4    whereby that if the defendant was going to market and

 5    distribute this particular type of tire that it would buy that

 6    directly from the plaintiff rather than through some third

 7    party, perhaps overseas manufacturer.         So that settled the

 8    case.

 9               I don't think that the settlement agreement, whatever

10    it says, was made an order of the Court.          I think the parties

11    just signed it and they submitted their documents, notified

12    the Court they had settled the case, and we marked it as such

13    and terminated the case.

14               So the defendant continues its business, the

15    plaintiff continues its business.        The defendant is marketing

16    a tire that the defendant believes it can market.             The

17    plaintiff believes that the defendant should be purchasing

18    that tire from it and/or paying royalties to it.            So because

19    the defendant doesn't think its required under its contract

20    now that sprung out of the first lawsuit from the settlement

21    agreement that it has to do what the plaintiff says its

22    supposed to do, the defendant filed a petition with this court

23    for declaratory judgment for there to be a judicial ruling

24    that what it's doing is legal and permissible pursuant to the

25    contract that it has.
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 1               So, you know, I guess when I saw last night I didn't

 2    even really -- I wasn't even really aware of the whole request

 3    to bring tires in until late yesterday.          So when my office

 4    talked to me about it, we issued the order that said you could

 5    do it, which I guess you were prepared to do anyway.             Some

 6    of -- the tires didn't just materialize out of thin air.

 7               But, yeah, I think the first question that we have to

 8    talk about is why is the 23 case the operable case here.

 9               I'm sorry I was a little bit late coming out, because

10    my law clerk and I were talking about it before we came out.

11               If the terms of the settlement agreement that settled

12    the 23 case was not an order of the Court, I mean, it -- I'm

13    not sure that the 23 case has any standing at this point in

14    time or any life, because you agreed to whatever you agreed

15    to.   And we'll talk about that.      But I didn't make it an order

16    of anything.    You just settled the case.

17               And it seems like that if the plaintiff believes that

18    the defendant is violating the terms of the contract, then it

19    should file a -- well, it could do a couple of things, I

20    guess.   Maybe more than a couple.       It could file a breach of

21    contract claim.

22               And maybe -- I haven't looked through the pleadings

23    to know whether or not there's been a filing of a counterclaim

24    in the 24 case by the plaintiff that alleges a breach of

25    contract, at least as a cause of action against the defendant.
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 1    If the plaintiff believes that there was misrepresentation

 2    made by the defendants in the settlement negotiations -- and I

 3    did glean some of that from the allegations -- I suppose you

 4    could seek to rescind the settlement agreement.             I'm not aware

 5    if that's something that the plaintiff is seeking to do.

 6                So without that -- without that, though, it just

 7    seems to me that -- you know, like a breach of contract claim,

 8    seems like a different case.       You had the case.        You settled

 9    the case.    The plaintiff may claim a breach of that agreement.

10    Seems like you then should be suing the defendant for breach

11    of contract.     And given that the defendant has filed a

12    petition for declaratory judgment, most likely that breach of

13    contract claim would be a compulsory counterclaim I would

14    think to -- it involves the same issues, the same -- in fact,

15    springing from the same transaction, being the settlement.

16                If you believe that there was fraud in the

17    inducement, for example, that would allow you to rescind the

18    settlement agreement, there are certainly steps, right, that

19    you have to generally take.       Don't you have to put people on

20    notice that you're rescinding and such?           And then maybe you

21    could sue.     I'm not clear on exactly how all that works.

22                I know just -- I'm assuming Georgia law is

23    controlling here.       Maybe it doesn't.     And y'all can tell me

24    otherwise.     But just kind of going back to my state practice

25    years, generally you're not allowed to keep the benefit of the
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                                                                              9


 1    contract without rescinding.         And it seems that the plaintiff

 2    is wanting to keep the benefit of the contract.

 3                So in any event, all that's in my mind.           And, you

 4    know, I will recognize in this case, like almost every case,

 5    other than perhaps routine diversity slip and fall cases, that

 6    the lawyers are going to know far more than I'm going to know

 7    coming into the case.       And maybe in the Walmart slip and fall

 8    case they know more.

 9                But in any event, I want to address the issue -- the

10    first issue being why the 23 lawsuit is actionable today.                   And

11    because I call them the plaintiff, I'm going to let the

12    plaintiff talk first.       So I'll let Blacksmith -- I'm sorry.

13    I'll let -- yeah, I'll let Blacksmith argue this point first.

14                MR. BENGERA:     Good morning, Your Honor.        Tom BenGera

15    for Blacksmith.

16                I appreciate Your Honor characterizing the case.                I

17    think it's a fair characterization.          There are some nuances

18    that I'm sure both parties would love to address.

19                THE COURT:     You probably need to come to the

20    microphone just -- unless you want to bend over -- I'll put it

21    this way:     You can stand there.       But if you see a frown on the

22    court reporter's face, then come on up to the microphone.                   If

23    not, she's going to tell you to.

24                MR. BENGERA:     Okay.   I'll do my best.       I'm spread out

25    over here.     I'll try to stay.       But if it gets clunky, just let
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                                                                      10


 1   me know.

 2               So Your Honor raised a -- Your Honor's first question

 3   I think has a procedural component and then a practical

 4   component.

 5               The procedural question Your Honor is asking, I

 6   think, is why is this the appropriate case if the settlement

 7   agreement itself was not incorporated as part in order by the

 8   Court.     I think it's the Kokkonen case.     Both parts cite it.

 9   It's a supreme court case opinion written by Judge Scalia, if

10   I'm not mistaken, Justice Scalia.      In that opinion, on which

11   several of the other cases cited by both parties relies, the

12   seminal case on this point is, in Kokkonen, the applicant

13   tried to bring a lawsuit to enforce a settlement agreement as

14   part of the jurisdictional hook.      And Justice Scalia said that

15   you cannot -- the settlement agreement itself is an incidental

16   indirect agreement, and unless the Court incorporates its

17   language as part of its order dismissing the case, the Court

18   cannot base jurisdiction on enforcing the settlement agreement

19   alone.

20               That's not what the posture of this case is.

21   Blacksmith is not seeking to enforce the settlement agreement.

22   It is seeking under two specific legal theories to reopen the

23   original case, the 2023 case, on the grounds that Your Honor

24   before the case was dismissed entered an order preserving

25   jurisdiction if, quote, the settlement negotiations fail.             And
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                                                                          11


 1   under Blacksmith's theory, if the settlement agreement was

 2   never consummated, was fraudulently induced, then the

 3   settlement negotiations failed.

 4               THE COURT:     You mean carried out?         What do you mean

 5   when you say consummated?

 6               MR. BENGERA:     So consummated has been used by other

 7   courts to refer to the affecting of -- not just execution but

 8   also performance.        We're talking here at a much earlier stage

 9   that the negotiations failed pursuant to Your Honor's order.

10               THE COURT:     But they didn't fail.         I mean, you

11   negotiated and you signed an agreement; right?

12               MR. BENGERA:     Well, in hindsight, Your Honor --

13               THE COURT:     I'm not interested in hindsight.            I'm

14   interested in facts.

15               So y'all negotiated.       You negotiated whatever you

16   negotiated.     It was reduced to writing.         Everybody signed it.

17   And then that's when I was notified that the case was over;

18   right?

19               MR. BENGERA:     Yes.   I think the parties' order stated

20   that at -- the agreement had been "executed" was the word that

21   we used jointly in our --

22               THE COURT:     Say that again.

23               MR. BENGERA:     Our submission to the Court stated the

24   negotiation -- that the settlement agreement had been

25   executed.     I think we used the word "executed".
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                                                                         12


 1             THE COURT:     It means it was signed.

 2             MR. BENGERA:     Correct.

 3             THE COURT:     Right.   So the order that you're

 4   referring to, I don't have specific knowledge.             I'm just

 5   thinking about generalities.         Normally what happens in these

 6   cases is I get notified by the parties that they've reached an

 7   agreement and then they want to reduce it to writing.               And so

 8   what I might do in that situation, particularly if it was an

 9   old case -- and this one wasn't.         But I might administratively

10   terminate the case or at least stay the case.             And so nothing

11   else is going to happen.      None of the deadlines that are a

12   part of the Rule 26 plan are going to be applicable while the

13   parties then take their agreement to paper and they sign it.

14             So I'm thinking what happened here is I got such a

15   notice from the parties that they had reached a consensus in

16   an agreement, they needed to reduce it to writing and execute

17   it.   And then I was later told, okay, that's all done, it's

18   all been signed, it's all been executed.            And then that was

19   when the case was dismissed.

20             Is that what happened?

21             MR. BENGERA:     I think procedurally, yes.          The --

22   perhaps the confusion on Blacksmith's part, the clarity I

23   guess we're seeking from the Court, is that we informed Your

24   Honor that the agreement had been executed and then Your

25   Honor's subsequent order said, let me know if negotiations
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                                                                           13


 1   fail.   So I'm not -- our position, based on that order, is

 2   that the negotiations failed in the sense that there was never

 3   an agreement by the -- Blacksmith's argument that --

 4               THE COURT:     I'm sorry.     There was an agreement that

 5   was signed; right?

 6               MR. BENGERA:     Correct.

 7               THE COURT:     And that was preceded by negotiations.

 8               MR. BENGERA:     Correct.

 9               THE COURT:     So where -- it seems like if maybe there

10   was -- if the defendant is right, where the negotiation may

11   have failed is, the plaintiff had an intent -- the defendants

12   may say, and I think they will say, that they had a different

13   intent; but the plaintiff would say that the intent is really

14   not embodied in what was written, the intent of the plaintiff,

15   that is.

16               I mean, that doesn't sound like a -- I mean,

17   obviously a unilateral failure of the agreement to -- or maybe

18   I'll put it this way:        The failure of the written agreement to

19   embody what the true intent of the plaintiff was doesn't mean

20   that there wasn't an agreement; it just means that maybe the

21   details didn't get fleshed out quite the way the plaintiff

22   views it.     I mean, I don't think you're conceding that the

23   details -- that the language doesn't embody your intent.                   I

24   think you think that it does.           And that's probably the smart

25   position to take.        Because if you say otherwise, then that
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                                                                      14


 1   kind of feeds the defendant's argument that they can do what

 2   they want to do, at least in the abstract on the surface, you

 3   know, without getting into the nitty-gritty of it all.

 4               I think it's hard to say that there was still -- that

 5   there was an unexecuted final agreement between the parties.

 6   Because the terms of the agreement were not something -- it

 7   wasn't like -- it wasn't like, okay, we'll settle our claim,

 8   you pay us $2 million, and settlement really doesn't happen

 9   until the closing, which means we sign the agreement and we

10   get the $2 million.

11               The agreements -- the thing that we're fighting over

12   is, what is supposed to happen into the future.           This Court

13   can't retain jurisdiction in a case like that forever, nor

14   would I.     I mean, I'm supposed to have cases over within three

15   years.     And if I don't have it over within three years, it's

16   almost never my fault.     It's normally because the lawyers need

17   more time.     They don't -- you know, it's not your only case.

18   You're working on a lot of different things.

19               But y'all had a negotiation, both sides thought they

20   reached an agreement, and then the parties signed that

21   agreement; right?

22               MR. BENGERA:   Those facts are right.

23               I think the legal theory is that absent a meeting of

24   the minds or subject to fraudulent inducement, their

25   negotiations don't succeed, they fail because an agreement is
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 1   not reached.     I mean, that's the hook.

 2               THE COURT:     A meeting of the minds.       Wouldn't the

 3   evidence of the meeting of the mind be embodied in the written

 4   contract that was signed?

 5               And if the plaintiff says, well, that -- if you

 6   interpret the agreement the way the defendant wants to

 7   interpret it, that was not our intent, well, that doesn't

 8   matter; right?     Because it's got to be a mutual disagreement.

 9   The contract has got to mutually not embody the parties'

10   intent.     Just because the plaintiff might say that it doesn't

11   embody the plaintiff's intent if you interpret it the way the

12   defendant wants it interpreted would not create an exception

13   to the contract rule.        Where parties agree, they agree.

14               Are you suing?     Have you sued -- have you given

15   notice to rescind the contract, the settlement agreement?

16               MR. BENGERA:     I think the -- the motion to reopen

17   includes an argument that we intend to rescind.              So we treat

18   the opening brief in support of the motion to reopen as

19   notice.

20               THE COURT:     What -- is this Georgia law that applies

21   here?     What's the -- the business relationship, what law

22   governed the business relationship?

23               MR. BENGERA:     It would be Georgia state law here.

24               THE COURT:     What does Georgia law say?        I'm sorry.

25   You're not from Georgia?
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                                                                         16


 1              MR. BENGERA:     I'm not barred in Georgia.

 2              THE COURT:     So what does Georgia law say about that?

 3   Doesn't it say that you can't take any action that's

 4   inconsistent with rescission if you believe that there was

 5   fraud in the inducement?

 6              MR. BENGERA:     That I'm not familiar with.

 7              THE COURT:     I'm familiar with that.        I haven't looked

 8   at a case recently.       But it seems to me from my -- I've been a

 9   lawyer in Georgia my whole life.         It seems to me that Georgia

10   law says that once you discover the fraud you can't take

11   actions inconsistent with it and that you must immediately

12   rescind.

13              And you only did that with the motion to reopen the

14   original lawsuit?       You didn't send a notice or anything like

15   that saying, we rescind the agreement because you fraudulently

16   introduced us to enter into it?

17              MR. BENGERA:     I don't believe we sent a separate

18   notice.    But the fraud was discovered in earnest at the end of

19   July, days before we filed the motion to reopen.              So it's a

20   matter of timing.       Not much time passed in between the

21   discovery of the fraud, which is the grounds for the

22   rescission, and the motion, the brief which put --

23              THE COURT:     All right.    So let me ask you:        So the

24   discovery of the fraud is exactly -- succinctly if you can

25   tell me, what was that?       That they, the defendant, is selling
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 1   a product that you believe infringes?

 2            MR. BENGERA:     That they never intended -- they

 3   entered into a supply agreement to buy the product on your

 4   left from Blacksmith intending all along never to buy a single

 5   product from Blacksmith.     And in fact, in the months leading

 6   up to the settlement agreement during the negotiations were

 7   creating molds and self-launching a product in anticipation of

 8   making the product on their own without buying it from the

 9   plaintiff; where the entire purpose of the settlement, which

10   goes back to a 2019 trademark license -- Your Honor mentioned

11   this in the opening.     Previously Blacksmith -- or Blacksmith

12   still has the rights to the designs and to the trademarks.

13            And the 2019 trademark license was -- that was a

14   license to use the trademark.       There was borne a lack of trust

15   by the plaintiff.     And it's alleged -- it's characterized in

16   the complaint -- the fact that there was a lack of trust is

17   not disputed.   The parties disagree whether it was warranted.

18   But the point is that the 2023 original case was brought to

19   litigate a lack of trust and underreporting of royalties.

20   Because Blacksmith didn't know how many tires OTR was selling

21   subject to the license.

22            The settlement negotiation negotiated a supply

23   agreement to resolve the issue of trust to say, if you're

24   going to buy it, buy it from us.

25            THE COURT:     Right.   So is there a claim -- I presume
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 1   that the plaintiff wanted to bring the tires because you

 2   wanted me to be able to see that there's similarities between

 3   them.

 4            Does the plaintiff have a claim that -- if we just

 5   kind of forget about the agreement itself, the plaintiff has

 6   some intellectual property rights.         I guess nobody is

 7   contesting that -- that the tire that is now being sold by the

 8   defendants is a violation of the intellectual property

 9   rights -- forget about the contract, but the intellectual

10   property rights itself?

11            MR. BENGERA:     Yes.     And I think there's --

12            THE COURT:     So but that wouldn't be -- I mean, I'm

13   saying -- I'm speaking out loud without having really gone

14   through your contract in detail.        I'm kind of leaving it for

15   y'all to educate me about the contract, as much fun as it

16   might be for me to delve into it on my own.

17            But it seems that the intellectual property right

18   claim is a totally different claim than the actual breach of

19   the contract that settled the first lawsuit.            I mean, you had

20   a claim that they were breaching the contract.            You entered

21   into a settlement agreement to resolve that claim.             That only

22   really resolves that claim up to the point of the breach -- or

23   the settlement agreement.        So if the defendant had breached

24   the plaintiff's intellectual property rights, the settlement

25   agreement would vitiate any claim -- you know, if it stands,
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 1   that is, it would vitiate any claim that existed up to that

 2   point in time.   And maybe it embodied concessions that -- I

 3   don't know.

 4            Was there money -- was there any payments that were

 5   required to kind of make up for the past alleged breaches at

 6   the point of the settlement agreement?

 7            MR. BENGERA:     There were some monetary payments.

 8            THE COURT:     And those have been paid?

 9            MR. BENGERA:     Yes.

10            THE COURT:     Okay.    So those were paid.

11            And to deal with the future then, we agree that the

12   defendant is supposed to buy tires that would utilize our

13   intellectual property from us and not try to go buy it

14   somewhere else, I guess is your argument.             And so -- and that

15   would kind of deal with a couple of things.             It would deal

16   with future intellectual property breaches -- property rights

17   breaches and it would also provide the knowledge that the

18   plaintiff would need to know what you were owed for the use of

19   your intellectual property rights.

20            I mean, I can see, you know, the similar kind of

21   context, there also being a lack of trust whereby, you know,

22   perhaps if a third party is making the product and we simply

23   deal with the royalty issues by self-reporting by the

24   defendant to the plaintiff how many of those units that they

25   sold and then sending the money to the plaintiff for the
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                                                                        20


 1   royalties for the right to be able to use it, there being a

 2   lack of trust that they're going to accurately -- they being

 3   the defendant, will accurately report what they sold.               I mean,

 4   that's a dispute that judges see a lot when someone has a

 5   license to use someone's intellectual property.

 6              And so your argument then is, when the defendant

 7   agreed to buy the tires from us so that it would -- and not

 8   infringe inherent in that, they never intended to buy the

 9   tires from us, they were always scheming to go around us.                And

10   so you claim that that meant that the agreement lacked any

11   present intent on the defendant's part to comply, and so it

12   would have been a failure of consideration and/or fraudulently

13   induced.

14              Have I kind of stated your position right?

15              MR. BENGERA:     (Nods head.)

16              THE COURT:     Okay.   So what if the tire doesn't breach

17   your intellectual property rights, what then?            Is your

18   argument that they had to -- they being the defendant, had to

19   buy tires from you if they were similar but not breaching from

20   a patent perspective?

21              MR. BENGERA:     So Blacksmith's position is that there

22   are several forms of intellectual property that cover the

23   tire.   There are design patents that cover the tires.              There

24   are unregistered trade dress rights that cover the tires.

25   There are trademark rights in the name of the tires.               All
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 1   those are -- that is what, in our position, the definition of

 2   "product".    And the supply agreement covers the product and

 3   its intellectual property rights.      I think the --

 4            THE COURT:     Yeah, but that -- Okay.       Sure.    But

 5   regardless of how many different ways the defendant's new tire

 6   violates the plaintiff's intellectual property rights, what if

 7   it doesn't?    What if it doesn't violate any of those?          Is your

 8   claim that -- I don't know.     I don't think I'm going to be

 9   able to tell by looking at two tires, but I do appreciate the

10   chance to look at them, but -- and it's not a decision I'm

11   going to make today, obviously, you know, because I'm sure the

12   defendant has got a different opinion about whether there --

13   any of those trade dress, design -- I'm not sure -- what was

14   the other -- trade dress, design and what else?

15            MR. BENGERA:     Trademark.

16            THE COURT:     -- trademark and how they name it, how

17   they market it.    I don't think I can decide that on a whim.

18   That's going to involve a lot.

19            But if it doesn't violate any of that, then do you

20   contend that under the contract there was some language that

21   was used that would imply some obligation on the defendant

22   beyond not just violating your intellectual property rights?

23            MR. BENGERA:     I think that as a supply agreement, the

24   fact that part of the consideration was to resolve the prior

25   dispute that the consideration from OTR to Blacksmith was to
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                                                                           22


 1   buy the, quote, products as they were defined in the schedule

 2   and the supply agreement, which -- and are defined using their

 3   tradename, which is the trademark, and their part number,

 4   which corresponds to whatever I understood was the products,

 5   and so I think if there were no -- hypothetically there were

 6   no intellectual property rights, I think the supply agreement

 7   was negotiated to resolve the prior dispute in exchange for a

 8   future relationship where OTR would buy all of its products

 9   that were similar -- sufficiently similar to whatever that

10   legal standard is --

11               THE COURT:     Was that term used in the contract,

12   "sufficiently similar" or something like that?

13               MR. BENGERA:     No.    The supply agreement defined

14   "product" as the tires and referred to a schedule in the

15   supply agreement that listed them by part number.

16               THE COURT:     You know what I really sense -- I'm just

17   going to be honest -- is that there is some regret on the

18   plaintiff's behalf on the way you drafted the contract.                    I

19   mean, you could have defined it as anything substantially

20   similar and had a detailed explanation of what that might have

21   said.   You could have defined it as, you know, tires for use

22   for a specific purpose.

23               I'm guessing these are tires that are used on big

24   machines.     I'm not sure.        But they're bigger than truck tires,

25   I think.     I mean, there's a lot of ways I guess it could have
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 1   been written that it wasn't.        I don't know that that's the

 2   defendant's fault.

 3            And so that's why I posed the question the way I did,

 4   is I -- if you defined it a specific detailed way in the

 5   contract about what they had to buy from you if they were

 6   going to sell something that met those characteristics and

 7   you -- and what the defendant actually sells doesn't violate

 8   those specifics that were in the contract, wouldn't it be fair

 9   then that the original lawsuit is not what we're talking

10   about, we're talking about the second lawsuit and the one

11   brought by the defendants?

12            And then let me also ask this, going back to the

13   issue of rescission:     You filed your lawsuit.         I'm guessing

14   you hadn't paid the money back and you haven't offered to pay

15   the money back.   Because that is also a component of

16   rescission, isn't it, in Georgia law, is you've got to give

17   back what you've got?     Has that occurred?

18            MR. BENGERA:     No, Your Honor.

19            THE COURT:     Have you offered to do that?

20            MR. BENGERA:     We are prepared to.

21            THE COURT:     Yeah.   That's beside the point.          I mean,

22   you haven't.   The fact that you might now because you now know

23   you need to doesn't -- if Georgia law is as I recall it to be,

24   that you have to be -- you have to immediately rescind, which

25   means to either pay back or offer to pay back, I think in
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 1   similar situations I've seen lawyers actually -- like for

 2   example, if they were doing it as a part of the lawsuit that

 3   they file that they actually offer to or pay the money into

 4   the registry of the Court as the rescission because the other

 5   side may not take it.     So they're trying to demonstrate that.

 6              So again, we're really just talking about which of

 7   these lawsuits is primary here, and really maybe even more

 8   specifically whether or not the 23 lawsuit can be litigated at

 9   all I guess at this point in time.

10              Anything else you want to say about that sole issue?

11   I know I was touching on other things, but only for trying to

12   come back to what issue -- you know, what lawsuit is the

13   primary lawsuit.

14              MR. BENGERA:   I think that Mr. Long's presentation on

15   the second lawsuit will answer some of Your Honor's questions.

16   I think that the last thing I'll say is that, separate from

17   the nuances of the supply agreement, I think that the legal

18   theory for the first -- original case being that it should

19   remain the lead case is that there really was a fundamental

20   absence of agreement, absence of a meeting of the minds as to

21   whether the 2023, the original case, was resolved via a supply

22   agreement or via, as the OTR will tell you, another trademark

23   license where OTR could just take Blacksmith's tire and put

24   its own name on it and make it somewhere else and continue to

25   sell it.    And that's what they're going to tell you that the
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                                                                        25


 1   supply agreement says, that it's just a trademark license and

 2   that if there's no trademark on their tire, it's not a

 3   product.

 4              If that is a disagreement between the parties today

 5   and if it was back in 2023, then I don't know how there could

 6   have been an agreement.      That was the fundamental premise of

 7   resolving the dispute.      And that I think is what supports Your

 8   Honor's ability to both reopen the case for a failure to

 9   settle or reopen under Rule 60(b)(3), which says, fraud,

10   misrepresentation or misconduct, misrepresentation and

11   misconduct being a slightly lower bar than the fraud.

12              And I think that's -- that is the -- Blacksmith's

13   position, is that there's such a fundamental disagreement over

14   what the terms mean today and there was also that same

15   disagreement or differing opinions back in 2023.             If there

16   was, there could not have been a meeting of the minds between

17   the parties sufficient to resolve the dispute.

18              And so we're not asking the Court to enforce the

19   settlement agreement, which is what Kokkonen says the Court

20   can do.    We're asking the Court to reopen under a theory that

21   there was a -- there was never -- the negotiations failed

22   and/or under 60(b)(3) that there was ever fraud or a

23   misrepresentation.

24              THE COURT:    So two more questions for you.          And I've

25   really touched on these already, but just to kind of put it in
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 1   a nutshell.    This first point maybe I haven't said explicitly.

 2            Would you agree with the premise that if the language

 3   of the original agreement is not ambiguous then I have to

 4   enforce it the way it was written?        Do you agree with that?

 5            MR. BENGERA:     In the language --

 6            THE COURT:     -- of the original agreement, absent a

 7   mutual mistake that -- in the drafting of the language, if the

 8   language of the original settlement agreement between the

 9   parties is not ambiguous, then I have to enforce it the way it

10   was written?

11            MR. BENGERA:     The only other caveat I would add is

12   absent fraudulent inducement.       I think that's the -- I think

13   if one party induces the other to agree to unambiguous terms

14   through fraud, then the correct result should be to rescind

15   the agreement, not to enforce it.

16            THE COURT:     But the inducement here would be embodied

17   in the language of the contract itself; right?

18            MR. BENGERA:     I don't think the inducement is --

19            THE COURT:     I mean, I don't get to go beyond the

20   language of the contract.     The contract -- I'm guessing.            I

21   don't -- guess it's not -- it's not normal to have what we

22   would call a merger clause in a settlement agreement, but

23   there usually is language in the settlement agreement that

24   kind of acts like a merger clause in the sense that it says,

25   this is what we're agreeing on, this is how we're going to
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 1   resolve it.   And when it's talking about -- when I'm using the

 2   word "this", I'm referring to the language of the actual

 3   settlement agreement.

 4             So it would seem that if there are outside

 5   representations made about what the deal between the plaintiff

 6   and the defendant was that the Court's not going to be able to

 7   go beyond the wording of the contract itself to determine what

 8   the promises are that each side is making to each other.

 9   Right?   That seems to be fundamental contract interpretation.

10             MR. BENGERA:     So I think it is a premise and it's

11   embodied towards the end of most contracts that says, the

12   terms are embodied herein, no other conversations can govern.

13             THE COURT:     Well, that's a typical merger clause.

14   But I'm not sure that I've ever really seen that specific

15   language in a settlement agreement, but maybe it's in there.

16             MR. BENGERA:     Yeah.     I think that the interplay

17   between that and fraud is that fraud transcends that merger

18   clause, in the sense that if there's something that

19   fraudulently induced a party to enter into an agreement, even

20   if the terms are as embodied in the agreement unambiguous,

21   then the Court should look to the fraud, whether or not it's

22   outside the four corners of the agreement.

23             THE COURT:     So but if the language of the agreement

24   was, if you sell this you buy it from us, and the product that

25   they're selling isn't this, it's something different, maybe
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 1   somewhat similar, but not to the point where it violates our

 2   intellectual property rights, our trade dress, our marks, our

 3   design, I'm not sure that you can get to fraud because you're

 4   relying on the representation that's in the contract that you

 5   wrote and signed.

 6               And, you know, you've tried to argue something

 7   similar.     But if the something similar doesn't violate your

 8   property -- your intellectual property rights, I don't see how

 9   you can get to fraud by saying, well, we really just didn't

10   expect that.

11               In any event -- let me move on then to Mr. Cobb and

12   let's hear his response.        I think he's going to, for one, say

13   what they make and what they sell or what someone else makes

14   for them and what they sell doesn't violate your intellectual

15   property rights.        And I have no opinion on that at all at this

16   point.     And then I think he's going to say that you live and

17   die by what's written in the contract.           I mean, that's kind of

18   what he said in some of the briefing.

19               But I'll certainly give you a chance to come back and

20   respond to that.        And I'm still only dealing with the issue

21   about whether or not the plaintiff is able to reopen the

22   original case.

23               So Mr. Cobb.

24               MR. BENGERA:     Thank you, Your Honor.

25               MR. COBB:    Good morning, Your Honor.
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 1               May I approach -- you said something at the end --

 2   you live and die with the contract.           That's exactly OTR's

 3   position.     I thought it would be useful to you and to your

 4   staff if you have a copy of the contract that you can

 5   reference.

 6               THE COURT:    Okay.

 7               MR. COBB:    We've got it highlighted in tabbed

 8   version, that I'd like to take you through some of the

 9   important terms.

10               THE COURT:    All right.

11               MR. COBB:    May I approach?

12               THE COURT:    Yes, sir.

13               MR. COBB:    Do you need more than two?

14               THE COURT:    Did you give Ms. Carlson one?

15               MR. COBB:    If you need another --

16               THE COURT:    I don't need another.

17               MR. COBB:    And then I'm not sure if I will use it

18   given some of the comments you made this morning.               But we did

19   prepare a set of slides.          I don't want you to be intimidated,

20   Your Honor, by the number in here.           There are just two motions

21   pending.     And there are some detailed facts that I thought

22   might get covered.       I don't think I will go through all of

23   this today, but I was prepared to do so if necessary.

24               It's a pleasure to be back in your courtroom, Judge

25   Ray.
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 1            I just want to make a handful of points on the motion

 2   to reopen.   A lot fewer than I had intended to make.

 3            You started with some questions about the procedural

 4   history surrounding the settlement.      And so I want to talk a

 5   little bit about that and make sure everyone is clear about,

 6   from a settlement perspective, how we got to where we are

 7   today.

 8            This is not -- you may have picked up on -- a David

 9   and Goliath type dispute.   OTR and Blacksmith are two of the

10   major players in the market for industrial off-road tires.

11   And they are competitors, Your Honor.       They sell competing

12   tires to, in some instances, the same customers.

13            And when the dispute arose under the trademark

14   license agreement, the settlement was not reached overnight.

15   It was negotiated over about a six-and-a-half-month period

16   with deep involvement by the companies, including both

17   companies' chief executive officers personally participating

18   in settlement meetings here in Rome; outside counsel for both

19   companies, including Mr. Long and me; and in-house counsel for

20   both companies, including Emily Rogers, who is in the

21   courtroom today and is the general counsel for OTR.

22            This was an arm's length negotiation.         Caveat emptor.

23   And as Your Honor knows from your familiarity with Georgia

24   law, fraud is a little bit unusual in Georgia, because a

25   plaintiff who is claiming fraud has to affirmatively prove
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 1   that they exercised due diligence before relying on any

 2   alleged misstatements.

 3            In that context, when you look at these very heavily

 4   negotiated and detailed commercial contracts, what became

 5   clear to me as I was getting ready for this hearing is that

 6   these parties structured this negotiation to make sure nobody

 7   could claim fraud.   We had open discussions where Blacksmith

 8   had every opportunity to ask OTR whatever questions it wanted

 9   to ask about the contract terms.

10            These are jointly drafted contracts.         There's a

11   provision in the contract itself that says they are not to be

12   construed against one or the other as the drafter.

13            There are multiple merger clauses and a separate

14   clause in the contract saying, nobody is relying on anything

15   that has been said except what is in this agreement.           All of

16   that happened starting actually before Blacksmith filed what I

17   call the 2023 case, and up until April of 2024 when on Docket

18   15 in the 2023 case we filed the notice of settlement letting

19   Your Honor know that the parties -- I'll just read it.

20            Come now Plaintiff Blacksmith and Defendant OTR,

21   through their respective undersigned counsel and notify the

22   Court that the parties have reached an agreement to settle the

23   above-styled lawsuit.    The parties have executed a settlement

24   agreement and are in the process of performing under that

25   agreement.   The parties will submit a stipulation of dismissal
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 1   with prejudice upon completion of the settlement.

 2            That was April 16th.       The same day, you entered an

 3   order that I have seen countless times in the Northern

 4   District, an administrative closure order that I've always

 5   understood to be a docket control mechanism to make sure that

 6   you don't have cases on your docket that are too old then

 7   lines get stayed and the parties have time to complete

 8   settlement if it needs to be completed.

 9            Now, counsel for Blacksmith made the argument that in

10   your administrative closure order, which is Docket Number 16

11   in the 23 case, you explicitly retained subject-matter

12   jurisdiction over the settlement agreement.            And I just don't

13   see that when I read the order.       This reads to me like an

14   administrative closure order that just intended to freeze time

15   in the case in case settlement discussions fail and the

16   parties have to continue litigating the case that they had

17   been litigating up to that point.

18            That happens on April 16th.        And your direction to

19   the parties, Your Honor --

20            THE COURT:    I'm sorry.     Is that in this booklet?

21            MR. COBB:    No, that is not.

22            THE COURT:    You'll just have to read it to me

23   because --

24            MR. COBB:    Yeah.   I'll get there.         This is Docket 16.

25   If you would like to see it, it is in the big slide deck --
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                                                                        33


 1              THE COURT:    Can we activate the ELMO and you can put

 2   it up there.

 3                                (brief pause)

 4              MR. COBB:    This is slide Number 43 in the slide deck

 5   that I handed up to you.      And it says -- this is the order you

 6   entered.    The parties have filed a notice of settlement.              The

 7   Court directs the Clerk of Court to administratively close the

 8   case.   The parties shall file a dismissal or other filing

 9   disposing of this case upon finalization of the settlement.

10   If settlement negotiations fail, the parties shall promptly

11   move to reopen the case.

12              As I read that order -- and again, I'm just a lawyer

13   in the case, but I've seen this over and over from judges in

14   the Northern District of Georgia -- this is a notice that the

15   case isn't over yet because maybe you haven't finalized your

16   settlement, but if you finalize it, then you need to get rid

17   of the case, dismiss it.      If not, we can lift the

18   administrative closure and continue litigating the case.

19              So that happens on April 16th.        Three days later --

20   and this is on Docket Number 18 -- the parties filed the Rule

21   41(a)(1)(A), voluntary dismissal with prejudice.             That, as

22   we've argued in the briefs, deprived the Court of

23   subject-matter jurisdiction.

24              Now, the Kokkonen case that counsel brought up only

25   applies -- and its progeny of the Eleventh Circuit -- only
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 1   applies if there is a pre-stipulation of dismissal order from

 2   the Court that explicitly retains subject-matter jurisdiction

 3   after the dismissal.    In other words, the situation Your Honor

 4   referenced where you embody a settlement agreement in an order

 5   of the Court, but perhaps there needs to be contempt

 6   proceedings if the settlement agreement is not complied with.

 7             We just don't have that scenario here.         And I don't

 8   understand how the administrative closure order, which doesn't

 9   reference continuing jurisdiction over a consummated

10   settlement agreement, that could give this basis -- give this

11   Court a basis under -- to simply reopen the case.

12             I also want to note one thing that hasn't come up.

13   And I don't know -- this has not been briefed by either party.

14   But given the proposed order that Blacksmith submitted this

15   morning, one of the conclusions of law that they're asking

16   Your Honor to adopt -- if you agree with our point that you

17   can't just reopen the case because of the joint stipulation of

18   dismissal, they're asking you to set that aside under Rule 60.

19   Right.   They're challenging the stipulation of dismissal on

20   the basis of either fraud or what they say is a lack of

21   meeting of the minds.

22             On Tuesday of this week in the U.S. Supreme Court, a

23   case was argued called Waetzig v Halliburton Energy, which

24   presents the question of whether a federal court can set aside

25   a stipulation of dismissal that has been issued under Rule 41.
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 1   I don't know how that decision is going to go.           We listened to

 2   the argument.    And frankly, it wasn't too enlightening which

 3   way the Court is ruling.    But the Supreme Court's decision in

 4   that case could affect whether this Court even has authority

 5   to set aside a stipulation of dismissal under Rule 60.               And I

 6   just want to make sure the Court is aware of that.           Argument

 7   just happened on Tuesday of this week.        And the Court will

 8   obviously rule before the end of its term.           But that may have

 9   an impact.

10            And in their proposed order, one of the statements of

11   law that they've asked you to agree with is that a federal

12   court has authority to set aside a stipulation of voluntary

13   dismissal under Rule 60.    That's not a given.         And it's an

14   open question that's being currently argued in front of the

15   Supreme Court.

16            So that's the procedural history.           That case has been

17   dismissed.   And everything else that they've described sounds

18   and feels a lot to me like counterclaims on a breach of

19   contract or declaratory judgment action.

20            So I want to address the second point they raise.

21            THE COURT:    Have they asserted the counterclaims in

22   the declaratory judgment?    If they haven't, have they lost the

23   ability to do that?    I guess they haven't answered.

24            MR. COBB:    They haven't answered.

25            THE COURT:    They just filed a motion to dismiss so
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 1   that -- a motion to reopen, a motion to dismiss -- or a motion

 2   to consolidate I guess is what it was.

 3            MR. COBB:   That's exactly right, Your Honor.          So

 4   if -- under the federal rules since they moved to dismiss,

 5   they don't have to answer or assert counterclaims.          If Your

 6   Honor were to deny the motion to reopen, deny the motion to

 7   dismiss, which we think you should take both of those steps,

 8   then they'll have a full opportunity to raise all of these

 9   issues in the 2024 case.   Frankly, that fact has been one of

10   the most confusing aspects of this whole dispute to me.

11            You often see these kinds of, you know, first-filed

12   disputes in situations where the parties are seeking a home

13   court advantage, right, if they felt, I'm based in Rome, I

14   want a Rome jury pool, I want a judge who's familiar with the

15   Rome community, so I'm going to make sure I file first in

16   Rome.

17            We just don't have that here because Blacksmith and

18   OTR are both based in Rome.    They're neighbors, actually.

19   Their office is, because of their shared history, physically

20   located next to each other.

21            So it's always been a little confusing to me why

22   Blacksmith is so intent on reopening the 2023 case when it has

23   a forum in the 2024 case to raise all of these issues,

24   including the fraudulent inducement claim.          I'm going to talk

25   about some of the points you raised in a second.          Rescission,
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 1   for example, reliance issues with merger clauses, set that

 2   aside.   Blacksmith can raise all of that in the 2024 case.

 3             THE COURT:    Right.   But the issue -- ultimately if we

 4   have questions of fact, the issue of trade dress violation,

 5   these could be jury issues; right?

 6             MR. COBB:    They could, and also could be raised in

 7   the 2024 case.

 8             THE COURT:    Right.   But it matters who gets to go

 9   first.

10             I mean, you know, I once -- I practiced divorce law

11   in part as a lawyer.      And I once -- you know, the Georgia rule

12   is, is the lawsuit doesn't begin until service happened.               And

13   I represented a pretty high profile person and we needed to

14   tell his story first.     And so we filed a complaint and got the

15   wife served before she could get him served, so we got to tell

16   our story first.      We ended up settling the case, but I just

17   knew it was going to be important that the jury hear from him

18   before, you know, all the bad stuff came out.

19             MR. COBB:    I'm not going to disagree with you that

20   there are certain cases where I prefer to be the plaintiff.                  I

21   mean, frankly, this is a case about some technical issues

22   relating to tires that go on those aerial work platforms.

23   Cherry pickers are actually what use these tires.            And I

24   don't -- this is just my view.       I'm not sure that a jury is

25   going to find that to be as interesting as a divorce case
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 1   where you're going to talk about misconduct.            This is going to

 2   be, what are these tires?      But I understand your point.             And

 3   maybe that's the answer as to why Blacksmith really wants to

 4   be the plaintiff.

 5              But my ultimate point, Your Honor, is if you deny

 6   them the relief of reopening the 2023 case, they don't lose

 7   anything substantively.      They've got a full opportunity to

 8   raise these arguments.

 9              Now, I disagree with all of the arguments.            We think

10   there are fundamental problems with a fraudulent inducement

11   claim that we would move to dismiss, frankly, under Twombly,

12   because of, for example, their failure to tender back over

13   $1.2 million that they have received under the settlement

14   agreement.    They received a check as recently as last week

15   under the settlement agreement.

16              THE COURT:    So as it relates to the whole fraudulent

17   inducement issues, I mean, I'm assuming your argument is, the

18   terms of the contract itself deals -- will defeat that claim

19   altogether; right?

20              MR. COBB:    That's exactly right.

21              THE COURT:    So you're going to go through all those

22   terms for me?

23              MR. COBB:    I'm happy to go through all of them, but I

24   think --

25              THE COURT:    Why don't you give me the highlights.
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 1               MR. COBB:    Absolutely.

 2               I'm going to start with the merger and the no

 3   reliance clauses.       And if you -- let's use the -- just so you

 4   can see the actual contract itself.          So these tabs are what we

 5   think are the most relevant provisions of the contract.                   And I

 6   should say, there are three contracts in here -- a settlement

 7   agreement, a supply agreement, and a design patent license

 8   agreement.     All of those are really one agreement.           And the

 9   settlement agreement itself says that, that they're all

10   consideration for resolution of the claims that Blacksmith

11   asserted in the 2023 action.

12               If you go to Tab 5, this is from the settlement

13   agreement.     And I'm looking at -- you will see two highlighted

14   sections.     One, a portion of Paragraph 10(c) is highlighted.

15   And second, Paragraph 11 is highlighted.

16               Paragraph 10(c) says:      The party -- this is a

17   representation of warranty by both parties.             "The Party has

18   not and will not rely on any agreement, promise,

19   representation, understanding or statement for purposes of

20   entering into this agreement other than the explicit written

21   terms set forth in this agreement."

22               You then go to Section 11, which is the merger

23   clause.     It's a very traditional merger clause.           "This

24   agreement, including exhibits" -- the exhibits are the design

25   patent license agreement and the supply agreement --
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 1   "constitutes the entire agreement and understanding of the

 2   Parties and supersedes all prior negotiations and/or

 3   agreements, proposed or otherwise, written or oral, concerning

 4   the subject matter hereof, including the TLA."          TLA, Your

 5   Honor, is the trademark license agreement that the parties

 6   previously operated under that was the subject of the 2023

 7   case and ultimately that these contracts fully replaced.

 8            One of the terms in these contracts is that the TLA,

 9   the trademark license agreement, is considered to be

10   terminated as of the effective date of the new contracts.

11            Now, you know from your time as a judge in Georgia

12   and as a practicing lawyer in Georgia that a contract term

13   like that makes it virtually impossible to prove a claim for

14   fraudulent inducement because it limits you to representations

15   that are contained in the contract itself.          It means, they

16   cannot as a matter of law prove reasonable reliance on

17   anything that they say was told to them outside the terms of

18   the contract.

19            We've cited a number of cases for that proposition.

20   You've got the Weed Wizard Acquisition Corp. , which is a

21   decision by Judge Story from 2002.      That 201 F.Supp. 2d 1252.

22            We cited the Novare Group v Sarif case from the

23   Georgia Supreme Court from 2011.     That's 290 Ga. 186.

24            And we've also cited another Northern District of

25   Georgia decision, Turley v Lupin Pharmaceuticals, which is
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 1   2019 WL, Westlaw, 13275423.

 2              This is not controversial Georgia law.        This is very

 3   basic Georgia law about how fraud intersects with contracts

 4   when you have a fully negotiated arm's length and fully

 5   integrated agreement like what we have here.

 6              You've got the separate problem of their failure to

 7   tender back the benefits.     Like I said, they've received over

 8   $1.2 million in payments under this contract -- under the

 9   settlement agreement.    And those payments were largely for

10   preexisting inventory that OTR had in its warehouses ready to

11   sell that we paid for underneath the new agreement.           They

12   never offered to pay any of that money back.         Even though if

13   we were still operating under the old trademark license

14   agreement, the royalties would have been calculated entirely

15   differently and we would not owe them what we owed them under

16   the supply agreement and the settlement agreement.

17              That's an independent failure for -- an independent

18   basis to reject a fraudulent inducement claim.

19              And I heard them say that it was very -- they're

20   relying on the motion itself as notice of their intent to

21   rescind.    That's inadequate under Georgia law.       You have to

22   give notice of rescission before filing suit.         It's considered

23   a condition precedent.    And that again is the Novare Group

24   case from the Georgia Supreme Court, 290 Ga. 186.          And there's

25   a Georgia statute explicitly on point, which is O.C.G.A.
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 1   13-4-60.

 2               Today is the very first time I've heard anybody on

 3   behalf of Blacksmith say they're even willing to return that

 4   money.     That is far too late.    They had to do it before they

 5   initiated any action on behalf of their client.

 6               And then on top of that, counsel for Blacksmith said

 7   it was just days after they discovered the fraud that they

 8   moved to reopen.     That's not accurate.      The motion to reopen

 9   wasn't filed until September 23rd.        And I think what they've

10   said in their papers is that they discovered the fraud -- what

11   they say is the fraud.     We obviously dispute that -- as early

12   as May or June.     And we've cited some cases in the papers for

13   the proposition that even that length of a delay with respect

14   to rescission is too short -- I'm sorry, is too long for

15   purposes of asserting a fraudulent inducement claim.

16               There were a number of points made both in your

17   questions and in counsel's responses about whether there was a

18   meeting of the minds on a material term of the contract.               And

19   I don't disagree that in the abstract a failure of a meeting

20   of the minds on an essential contract term can be a basis for

21   voiding a contract.

22               But we cited the Cox Broadcasting v NCAA case from

23   the Georgia Supreme Court, which stands for the proposition

24   that, in order for a misunderstanding about what a contract

25   term means to qualify as a failure of the meeting of the
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 1   minds, both parties have to sign the contract knowing that

 2   there is a difference of opinion about what that contract term

 3   means.

 4               And here, they have offered no evidence whatsoever --

 5   there's a lot of arguments of counsel in the papers and today,

 6   but there is no evidence whatsoever that their view of what

 7   the word "products" in the contract means was ever

 8   communicated to us in the course of the negotiations.               There's

 9   no declaration or testimony that says, in a conversation with

10   the CEO of OTR I told him, we think "products" covered not

11   just a tire that has -- let me look to see if this one has --

12   it has the -- the Outrigger trademark on it -- but also a tire

13   that uses this tread pattern and does not have the Outrigger

14   trademark would qualify as a product.           There's no evidence of

15   that because it didn't happen.

16               This is a very carefully drafted contract that

17   explains in great detail what is or is not a product.               And the

18   fact that all parties after being advised by their own counsel

19   signed that contract is effectively conclusive proof that

20   there was a meeting of the minds on the essential terms of the

21   contract.

22               THE COURT:    In the contract that you provided to me,

23   can you show me where the definition of "product", if there is

24   one, is, or is it just mentioned generally?

25               MR. COBB:    Absolutely.    If you turn to Tab 8, Your
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 1   Honor.   This is going to be a two part.          So you see

 2   highlighted language in Section 1.1.          Two portions of this

 3   paragraph are highlighted.       I want you to focus on the top

 4   portion that's highlighted.       It says:      The purpose of this

 5   agreement is to set forth the terms and conditions under which

 6   supplier -- supplier is Blacksmith -- and/or supplier's

 7   affiliates will procure, sell and deliver, and buyer, OTR,

 8   will purchase, and pay for, the tires as more specifically

 9   described in Schedule 2 attached hereto, hereafter referred to

10   as the Products.      Unless otherwise stated, the term "Products"

11   refers to the listed items in Schedule 2.

12             So to turn to Schedule 2, you want to go to Tab 12.

13   Are you there?

14             THE COURT:    I am.

15             MR. COBB:    This is an extraordinarily detailed list

16   of very specific products -- part number, prices, tire size.

17             And if you look in the description, every single item

18   that is listed includes the relevant trademark that was the

19   subject of the parties' dispute.

20             This might require a little more background on the

21   nature of the 2023 action.       So the 2023 action was about the

22   trademark license agreement.         And the trademark license

23   agreement covered four trademarks -- Outrigger, Wearmaster,

24   Stabilizer and Lightning.       This agreement replaced the

25   trademark license agreement.         And it required that if we buy
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 1   an Outrigger tire, a Stabilizer tire, a Wearmaster tire, or a

 2   Lightning tire, we buy it from them.

 3               THE COURT:    So does that mean that they may have --

 4   they may distribute their tires -- who makes their tires?

 5   Some third party?

 6               MR. COBB:    A third party manufactures these, based

 7   overseas.

 8               THE COURT:    So does the plaintiff then distribute

 9   those tires through various means, which will leave open the

10   possibility that you could be purchasing their tires made by

11   someone else for them from another person, another entity?

12               MR. COBB:    I --

13               THE COURT:    The specific tire that's their tire.

14               MR. COBB:    It's their tire.

15               THE COURT:    Does anyone else distribute that, that

16   your client could conceivably get them from and then market

17   them?

18               MR. COBB:    I don't know the answer to that question.

19   It may be yes, but there's no evidence that it's happened;

20   right.   The tires that they are complaining about is this tire

21   (indicating).     So this is the new tire that they say -- I

22   should say, I hadn't seen these before today.             They told me

23   they were going to bring them.         I haven't had a chance to

24   examine them.     I assume these are authentic.          But if you're

25   going to consider taking them into evidence, we need to have a
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 1   discussion about that.     I'll assume for purposes of this that

 2   these are actual tires prepared from my client OTR and from

 3   Blacksmith on the other hand.

 4             They say these tread patterns are the same.           And the

 5   differences between these two tires, theirs has an Outrigger

 6   mark on it and also on this side says "Blacksmith", ours has

 7   LIFTBOSS S/T on it, which is the trade name for the -- brand

 8   name for the tire, and OTR on the side.

 9             Our view is that this is not a product because it's

10   not specifically identified on Schedule 2 of the contract.

11             And there's another component to this that I want to

12   make sure you're aware of.     Because you asked them a question

13   about -- what if there are no intellectual property rights,

14   would that change their view of whether we're permitted to

15   sell a tire that, again, they say has the same tread

16   pattern -- I'm not conceding that because I don't know.               But

17   let's just assume that it's true -- but does not contain a

18   cover trademark.     Does not say Outrigger on it.        And counsel

19   said, no, it wouldn't, because as a matter of contract, they

20   think that we have limited ourselves, even if there are no

21   intellectual property rights, to buy tires from them.

22             So I want to go back to the contract to just make

23   sure you can understand why that point I think is wrong.

24   Tab 8.   So if we go back to Section 1.1, the second portion of

25   Section 1.1 that's highlighted reads this:           Buyer, meaning
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 1   OTR, is under no obligation to purchase the products from

 2   supplier -- I mean, frankly, we could have not been clearer

 3   that we may never buy a single tire from you -- however, buyer

 4   understands, it may not manufacture, procure and sell

 5   Products, upper case P, define term "products", whether as

 6   loose tires or as part of an assembly, and to the extent such

 7   manufacture, procurement and sale would violate supplier's

 8   intellectual property rights (such rights as of the date of

 9   this agreement are set forth in Schedule 6).

10            The parties negotiated and agreed on what Blacksmith

11   told us its intellectual property rights were in this

12   Outrigger tire.     And I want to take you through Schedule 6,

13   because a point that they have made, they have patent rights

14   in that Outrigger tire, they have trade dress rights in the

15   Outrigger tire.     None of that is in this contract.        I mean,

16   think about that.     They made a big deal in this case about us

17   supposedly infringing the trade dress rights, for example, on

18   the Outrigger tire.

19            As part of these detailed negotiations with their CEO

20   involved, they had to come up with a comprehensive list of

21   what they said to us was their intellectual property for

22   Outrigger.

23            So I want you to turn to Schedule 6, which is Tab 13.

24   We didn't draft that Schedule 6.      They did.      There is nothing

25   about a trade dress on Schedule 6.       It is specifically
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 1   identified trademarks.

 2            I mean, If anything, Your Honor, when I see that as

 3   counsel for a client, I have to rely on them because I don't

 4   know what Blacksmith thinks the extent of their intellectual

 5   property rights is.     They had great advisers.       They had top

 6   level business people.     If they thought there was trade dress

 7   protection on this different from these trademarks, I have --

 8   it's inexplicable to me why they wouldn't have told us and

 9   insisted on it being included in the contract.

10            THE COURT:    Right.   But if we assume for a moment

11   that there is a trade dress violation, I mean, that's an

12   independent claim that they can bring outside of the contract;

13   right, unless the contract allows in the future there to be a

14   trade dress violation?

15            MR. COBB:    They could bring that as a counterclaim

16   in the 20 -- but we could litigate that and we could have

17   discovery on it.     And ultimately a jury might have to resolve

18   that question.

19            I bring this up, Your Honor, because the premise of

20   their entire request that you set aside the Rule 41 dismissal

21   is that we somehow defrauded them.       That's just

22   counterfactual.

23            And one thing you need to keep in mind is, under

24   Rule 60, when you are moving to set aside a stipulation on the

25   basis of fraud, it's an evidentiary standard.          This is not
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 1   about pleadings or allegations.

 2               And it's not a preponderance of the evidence

 3   standard.     It is clear and convincing.       Why is it clear and

 4   convincing?     You well know that our federal judiciary values

 5   finality in bringing closure into cases.           And they're asking

 6   for the finality of the 2023 action to be disrupted.              So

 7   they've got to meet a heightened burden.

 8               The only evidence in the record on their motion to

 9   reopen is a declaration from one of their lawyers about a

10   conversation he and I had in July of last year.

11               This new declaration from one of Blacksmith's

12   engineers, that makes some statements I haven't cross-examined

13   him on about the similarities between those two tires and then

14   all these contracts, like, that is it.          They've got a lot of

15   arguments about how we supposedly defrauded them, but no

16   evidence.

17               And I would suggest, Your Honor, that if they made

18   these allegations in a complaint, it would be dismissible

19   under Twombly and Rule 9(b).        If that's true, it simply cannot

20   meet a clear and convincing evidentiary burden of proof in

21   order to set aside a stipulation of dismissal.

22               I want to make one other point, and then I'll sit

23   down.   And I don't think I need to harp on this.            But you

24   asked -- you made a comment about whether there is a dispute

25   about the existence of intellectual property protection and
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 1   commented that perhaps there's not.       I just want to make

 2   absolutely clear, there is a dispute about the existence of

 3   intellectual property protection.

 4             I think everybody agrees that the word "Outrigger" is

 5   held by Blacksmith, but nobody agrees that there is trade

 6   dress protection associated with this tread pattern or the way

 7   that the tread pattern intersects with the sidewall of the

 8   tire and the overall look.     That is not an agreed upon point.

 9   We dispute that.     And again, that's not an issue for today.

10   But they do offer the existence of the trade dress protection

11   as one -- they say evidence of fraud on our part.

12             We do not agree that there is any trade dress

13   protection.   And there was extensive litigation out in

14   Washington that ultimately went up to the Ninth Circuit on the

15   trade dress associated with this tire.        And a jury in a

16   federal court in Washington invalidated the registered trade

17   dress for this tire.

18             Now, they say there is unregistered trade dress, but

19   we do not concede that point at all.

20             And that's all -- again, none of this is something

21   Your Honor has to -- these are all merits related questions.

22   But I think the ultimate point is we can litigate all of this

23   in the 2024 case.    They can file their counterclaims.          We can

24   have discovery, figure out what the truth is, and let a jury

25   decide.   But the 2023 case is not available because it's been
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 1   dismissed and there's no subject-matter jurisdiction.

 2            Does Your Honor have any questions?           There's a lot

 3   more -- if you're interested in the contract, I'm happy to

 4   walk you through it.     I just don't want to take up any more of

 5   your time than is absolutely necessary.

 6            THE COURT:     I don't have any questions.         Thank you.

 7            MR. COBB:     Okay.   Thank you.

 8            THE COURT:     All right.    Yes, sir.

 9            MR. LONG:     Your Honor, much like Mr. Schaetzel is

10   here to speak on IP matters, if I could have a brief minute to

11   respond to the question that Mr. Cobb presented about the IP

12   that's present in these tires.

13            THE COURT:     I don't know that that matters for the

14   purposes of the issue about what case is primary, does it?

15            MR. LONG:     It does speak to the mens rea behind the

16   fraud I believe, if they believe --

17            THE COURT:     We don't get to mens rea until we decide

18   some threshold issues about misrepresentations.            So if you

19   want to speak about the contract terms, I'll be glad to hear

20   you.

21            MR. LONG:     Can you hear me okay?

22            So, yeah, with respect to the contract terms, I've

23   heard Mr. Cobb mention Schedule 6 and the list of IP that's in

24   Schedule 6.   And I think that is directly relevant.            He

25   mentioned Schedule 6 and it includes the Outrigger trademark
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 1   that's in there specifically.          And he just pointed to the

 2   Outrigger trademarks on these tires.           And he also referenced

 3   the --

 4               THE COURT:    I mean, that's the name --

 5               MR. LONG:    The trademark name that's printed on the

 6   tires.   And the way these molds work -- I'm an engineer by

 7   trade.   And I've looked at the way these are made.              Big

 8   convoluted process.       There's these plates that go inside the

 9   mold that have the trademarks on them as they -- they get

10   swapped out by various folks at different times.               And that's

11   precisely what the case that was in Washington state that went

12   to the Ninth Circuit was dealing with, almost the exact same

13   issue as before this Court.         So I was very surprised to hear

14   Mr. Cobb say that there is no trade dress because --

15               THE COURT:    I'm not trying to decide that.           I don't

16   want to talk about trade dress.          I want to talk about the

17   contract.

18               MR. LONG:    Okay.     So back to the contract then.           So

19   Outrigger, that's in the contract.           That's Schedule 6.          And we

20   can end it right here.

21               THE COURT:    Right.

22               MR. LONG:    So the West case that was in Washington

23   state that went to the Ninth Circuit dealt with the Outrigger

24   trademark that had been removed from the molds, precisely as

25   what's happened here.       And what was argued in the district
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 1   court, prevailed in the district court, and then was affirmed

 2   by the Ninth Circuit, was that it was a violation of the

 3   federal Lanham Act to remove the Outrigger trademark from

 4   those tires.     And so that is a trademark issue that is

 5   directly relevant to the supply agreement that incorporates

 6   Schedule 6 with Outrigger in the name.

 7               THE COURT:    And that's what would be included in a

 8   claim for trademark violations or Lanham Act general

 9   violations.     But that's not what we're talking about.            We're

10   talking about the contract itself.          Okay?

11               And so the plaintiff says that the defendant's

12   marketing of the tires they market are trademark violations.

13   I get that.     And I'm certainly not deciding that today.

14               I think we all know I'm not bound by what the Ninth

15   Circuit or some district court judge anywhere decided.                  But

16   those are issues for another day.

17               So the fraud then is, you're saying, I guess, that

18   the fact that the defendants intended to essentially make the

19   same tire but to take the trademark off the tire would

20   demonstrate fraud in the way the -- fraud in the inducement in

21   the contract?

22               MR. LONG:    Yes, Your Honor.     So the way the timeline

23   works, in 2023, the molds for the accused product were

24   prepared.     And that's the declaration that we submitted, that

25   there's markings inside the tire to show when those molds were
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 1   made.   The molds were prepared with the Outrigger name

 2   removed.

 3              We then executed the license -- excuse me, the supply

 4   agreement months later in 2024.        And then that same day after

 5   we executed the agreement, we filed the notice of settlement

 6   with this Court and then the Court entered the order, as we've

 7   just discussed.    And so we thought we were all good.

 8              And then as time progressed, we initially thought,

 9   well, we've got a misunderstanding.         And then we reached the

10   position, well, we think we have a breach.

11              And it wasn't -- Mr. Cobb mentioned a phone call that

12   I was part of on July 31st.       And it was in that phone call

13   where Mr. Cobb and other folks on the phone said, oh, by the

14   way, we've never had an intent to buy product from you.                 That

15   was the day we began to learn that there might have been fraud

16   here.   And that's when we --

17              THE COURT:    Is there language in the contract that

18   shows an intent to buy the product, like -- let me put it this

19   way, an obligation to buy the product?

20              MR. LONG:    An obligation to by the capital P Product.

21              Our understand was, they could have gone out and --

22              THE COURT:    Wait a minute.     Back up.     Back up.

23              You can point to a provision in the contract that

24   says they have to buy your capital P Product?

25              MR. LONG:    If they want to sell the capital P
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 1   Product, they have to buy it from us, yes.

 2             THE COURT:    Right.

 3             MR. LONG:    So if they want to --

 4             THE COURT:    Hold on.

 5             The defendant's contention is, they're not selling

 6   the capital P Product.     You disagree with that.         That would be

 7   a breach of contract claim for sure.

 8             Your argument then is, that if the defendants

 9   objectively believe that they're not selling the capital P

10   Product that belongs to the plaintiff, they misled the

11   plaintiff on that because they never told the plaintiff that

12   they, being the defendants, believe that if the product was

13   similar without the Outrigger name or any of the other

14   trademark names that it wasn't covered?

15             MR. LONG:    I think that if the day after the

16   settlement agreement had been signed they then went out and

17   started procuring product, that would have been a breach.               I

18   think where the fraud comes in, is that they were planning to

19   do this all along.

20             They came -- we sat -- as Mr. Cobb mentioned, we sat

21   across the river here in a conference room and hashed all this

22   out.   And they said, no, we're going to buy this product from

23   you.   They made all these representations to us.           We had no

24   idea --

25             THE COURT:    But the representations are irrelevant
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 1   per the terms of the contract if they're not embodied in the

 2   contract.     I mean, that's a -- I'm sorry, you're North

 3   Carolina?

 4               MR. LONG:     Yes, sir.

 5               THE COURT:     That's a fundamental law of North

 6   Carolina I'm sure.

 7               MR. LONG:     It is.   And that's -- I think that's in

 8   the contract.     That's the capital P Product.

 9               THE COURT:     But your argument is that -- your

10   argument is more than that.           Your argument is relying on this

11   case out West that when the Outrigger trademark is removed

12   that belongs to the plaintiff that the product that the

13   defendant sells is still capital P Product.               That's not in

14   this contract.     You're relying on a case to say that.              That's

15   not in the contract, though.

16               I mean, there's no terminology in this contract that

17   says that; right?        That's a question that calls for a yes or

18   no answer.

19               MR. LONG:     Well, yeah.     The West litigation is not in

20   the contract.

21               THE COURT:     Yeah.   So that's an argument that you

22   make.   And it may well be the law here too, but it's not in

23   the contract.     So you're relying on something outside the

24   terms of the contract that's only binding in the Ninth

25   Circuit.     Granted, that's a large part of the country, but
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 1   it's not here.     So I don't know how that's fraud.

 2              MR. LONG:    I think where it comes in -- I agree that

 3   the Ninth Circuit is not binding here in the Eleventh Circuit,

 4   but it is judicial estoppel I believe to take a 100 percent

 5   diametrically opposed position in one form and then make a

 6   different argument in the second form.

 7              THE COURT:    I'm sorry.    Did that case involve

 8   actually these defendants?

 9              MR. LONG:    Oh, it was literally the same -- I've got

10   a copy of the brief here.

11              THE COURT:    I'm sorry.    What position did the

12   defendants take in the Ninth Circuit that you would claim

13   would be judicial estoppel?

14              MR. LONG:    So this is OTR's brief to the Ninth

15   Circuit.    And they say:     OTR thus owns unregistered trade

16   dress rights in its Outrigger tire tread design, arising from

17   its use in commerce.       These rights exist regardless of whether

18   OTR has a trademark registration.

19              Then the Ninth Circuit when they read this brief,

20   they blessed that and said, yes, unregistered trade dress

21   rights do exist.       Unfortunately you didn't plead them in your

22   complaint, so we're going to not reverse that piece of the

23   district court's order.       But they made that argument that

24   there were unregistered trade dress rights.            And so now

25   they're telling us, oh, there's not unregistered trade dress
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 1   rights.    Those are diametrically opposed positions in two

 2   different federal courts.

 3              THE COURT:    But we're not talking about -- we're not

 4   litigating right now the issue of trade dress.             We're talking

 5   about the contract.

 6              So what language can you point to in the contract

 7   where there's a misrepresentation or a confusion or an

 8   ambiguity?

 9              MR. LONG:    I would just go back to the definition of

10   "products".    So in the contract -- and this is docket entry --

11              THE COURT:    That doesn't help me.         I'm not going to

12   open the docket and start looking.

13              MR. LONG:    It's going to be Tab 10 of what Mr. Cobb

14   passed up.    This is Section 14.2.

15              THE COURT:    Okay.

16              MR. LONG:    This is the trademark license restriction.

17   The trade license -- there is a trademark piece to this.                 The

18   trademark license granted herein shall be limited solely to

19   products, the current inventory on hand, and products on

20   order.    For avoidance of any doubt, the buyer shall not be

21   authorized by the supplier to use any BOTR trademark on any

22   capital P Product not procured from supplier unless the

23   products are included in the current inventory on hand or

24   products on order.

25              So again, we're going back to the Schedule 6.               And
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 1   these trademarks cannot be used.       And "by used" also means

 2   removed from the existing molds.

 3            THE COURT:     All right.    So I want to go back to a

 4   question that I asked your colleague early.

 5            If the ultimate issue in this case is decided that

 6   what the defendant is selling does not violate the trademarks,

 7   the trade dress, the designs, all of the intellectual property

 8   rights that the plaintiff possesses in its products, then what

 9   does that mean?   I mean, does that mean you have no claims at

10   all, that what they're doing is okay?

11            MR. LONG:    Yeah, I would agree.        So I think the

12   premise of the settlement and supply agreement was that they

13   could go out and design a wholly new product, which I

14   understand they have.     They have a product --

15            THE COURT:     Let's go back to my question.

16            If what they're selling from wherever they got it,

17   whether they made it or they had someone make it, doesn't

18   violate the plaintiff's intellectual property rights, then

19   there is no fraud in the inducement either; right?            Because

20   your theory is that there was fraud in the inducement because

21   they always intended to sell a product that violated our

22   intellectual property rights and we feel like it was protected

23   by the agreement; correct?

24            MR. LONG:    I would agree with that characterization.

25            THE COURT:     All right.    So can you address the issue
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 1   then, does it really make a difference whether we litigate

 2   this under either contract that was signed or the independent

 3   rights that the plaintiff has that could be filed as a

 4   counterclaim?    At the end of the day, the issue always comes

 5   back to are there intellectual property rights.

 6              Because I don't think the defendants are claiming

 7   that you gave them some intellectual property rights that they

 8   are using properly.      They're claiming, we're not utilizing any

 9   of the intellectual property of the plaintiff at all.

10              So it doesn't really sound like it matters for

11   purposes of which case we travel under, that the ultimate

12   question is going to come down to that, under your theories or

13   under their theories.

14              MR. LONG:    Yes, Your Honor, I believe that's correct.

15   I think either could be a vehicle for the heart of this

16   dispute.    But I mean, the fraud seems to fit the structure of

17   the first filed case because that's where the fraud occurred

18   in the settlement agreement in that case.              But I agree that

19   could be a counterclaim in the second filed case as well.

20              THE COURT:    So only fraud, though, if they're

21   utilizing your trade dress or your trademarks or your designs

22   because that is a necessary component of what you claim to

23   have been fraud, is that they were always intending to do

24   that.

25              MR. LONG:    Right.   They were prepared --
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 1              THE COURT:     Excuse me.    And they are.

 2              MR. LONG:    And they are, that's correct.

 3              THE COURT:     All right.    So -- and I don't know if you

 4   want to argue this or you want to allow Mr. BenGera to argue

 5   it.   But what about their arguments about that it's too late

 6   to rescind, so to the extent that you're claiming fraud as a

 7   basis to undo what you agreed to that you can't do it now?

 8              MR. LONG:    So I'll let Mr. BenGera speak to that

 9   specifically, except for I want to interject one piece as far

10   as the delay in this case.

11              There was a period of time that Mr. Cobb agreed to

12   allow us an extension of time because I personally was

13   suffering from COVID.       So there's a period of time during --

14   before we filed the motion to reopen where we were just out of

15   pocket.    So there is a window of time in there I think that

16   should be excusable as far as the time goes.

17              And I'll let Mr. BenGera speak, though, as to the

18   rescission piece of it.

19              THE COURT:     Okay.   All right, Mr. BenGera, sir.

20              MR. BENGERA:     Thank you, Your Honor.

21              Let me say one more set of points on the timing

22   issue.    I think Mr. Cobb called me out for using -- I think I

23   used a "few days" and it turned out that it was a few weeks.

24   That's my mistake.      The Rule 60(b) gives a party up to a year

25   to file a motion to reopen --
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 1            THE COURT:     That's like a statute of repose, though.

 2            MR. BENGERA:     Right.

 3            THE COURT:     That doesn't mean you have a year after

 4   you find out about it.

 5            MR. BENGERA:     Correct.    Right.    The year is a bar.

 6   And then beyond that, there's also a standard of delay that

 7   courts consider.

 8            And I think OTR cited several cases where a handful

 9   of months was sort of the litmus test of what excusable delay

10   was permitted.

11            In his presentation, Mr. Cobb talked about end of May

12   or May being the time, sort of the starting point when the

13   clock should start against Blacksmith in this case.              The May

14   date that Mr. Cobb refers to is the first instance where

15   Blacksmith understood there was even a disagreement over what

16   essentially the term "product" means and the scope of the

17   supply agreement.     That conversation led to further

18   conversations, involvement of counsel.

19            And there's a letter -- I think it's a June 20th

20   letter in the record -- of when the first time that the --

21   sort of the lawyers got involved and started discussing

22   amongst themselves whether there's a disagreement that rose to

23   the level of having further conversations about it.              That then

24   led to this July 30th phone conversation.             And the motion was

25   filed a few months after that.
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 1               And so the timing, I don't know that -- to the extent

 2   Your Honor reaches that point, I think we're talking about a

 3   matter of weeks from when the fraud became apparent to

 4   Blacksmith, and that that falls well under even the cases that

 5   OTR cited that say that a few months is the permissible amount

 6   of delay.

 7               THE COURT:     Wouldn't the fraud be apparent to the

 8   plaintiff immediately upon knowing that the defendant was

 9   selling a tire that you contend violates your trademarks and

10   trade dress and designs?

11               MR. BENGERA:     In the beginning it sounded -- I think

12   the arc that we've come to believe is that there -- around May

13   we understood there was a misunderstanding over, it really

14   comes down to the definition of "product".              At some point we

15   believed that that was going to be a breach of contract claim.

16   What is the definition of "product"?          Is a tire scrubbed of

17   the trademark still a product?         And maybe that's a -- maybe

18   that is a contractual dispute.

19               The fraud comes in where we go back to what OTR was

20   thinking and doing in the months leading up to the settlement

21   agreement where they knew that the dispute from 2019 was about

22   a lack of trust over a trademark license.

23               The resolution -- the whole framework of the

24   settlement and the supply agreement was to structure it

25   differently, to not structure as a trademark license, but to
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 1   force OTR to -- if it wanted product at all -- it doesn't have

 2   to buy any product.      But if it wants to sell that tire, it has

 3   to buy from us, whether it's used as its own name or ours.

 4             THE COURT:     The problem is, you didn't include broad

 5   language like that.      And when I say you, I don't mean you.         I

 6   mean your client didn't include in their contract language

 7   like that.   And it would have been so easy to do.           I mean, you

 8   could have drafted broader language that talked about tires

 9   that are substantially similar in design.

10             Now, we might fight over what that means, but that

11   would at least evidence an intent to be something more than

12   just your tire.

13             MR. BENGERA:     I think we have something here that's

14   more than substantial similarity.       We have tires that were

15   formed -- if you read Mr. Milam's declaration, were formed

16   from the same -- either the same mold or the same set of sort

17   of 3-D files that create the mold.        So they're not --

18             THE COURT:     How do you know they used the same

19   design?

20             MR. BENGERA:     We don't know that -- So Mr. Milam's

21   declaration -- he's the lead engineer for Blacksmith --

22   inspected these two tires, including -- if you look -- you're

23   probably too far.      But on the inside of the tire, they call it

24   a bladder.   It has a fingerprint.      These tires have

25   fingerprints.     They either come from, let's say mold minus the
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 1   plate, or they come from two molds that were created from the

 2   same 3-D file.    The file creates mold, the mold creates the

 3   tires.

 4              So to say that these two tires are substantially

 5   similar is an understatement.         They're identical but for the

 6   trademarks.

 7              And Mr. Cobb was sensitive to walk around and say I

 8   don't concede that.      He said, Blacksmith says they're the

 9   same.    I don't know that Mr. Cobb has a list of differences or

10   that it really matters, but these two tires are the same but

11   for the trademark.

12              And the point of the -- goes back to the fraud, the

13   absence of the meeting of the minds, the misrepresentation, is

14   whether at the outset of settling this case, the 2023 case,

15   original dispute, whether OTR intended to -- intended for

16   Blacksmith to think that it was going to buy this tire if it

17   wanted to sell this tire, or rather, that it could take all

18   the other bundle of rights that are embodied in this tire,

19   just swap out the name, using the same 3-D file and/or the

20   same mold and just sell it itself.

21              And if that was communicated to Blacksmith or even

22   became a point that Blacksmith was thinking about, it never

23   would have agreed to release OTR of the trademark license

24   agreement and all of its claims brought in the 2023 complaint.

25              THE COURT:    Give me just a second.         Before you move
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 1   on, give me just a second.

 2                                 (brief pause)

 3               THE COURT:     Go ahead, sir.

 4               MR. BENGERA:     And if Your Honor has the binder that

 5   Mr. Cobb passed up, in Tab 10, Section 14.2 -- it's the

 6   sentence that Mr. Long read a moment ago -- your Honor asked a

 7   question --

 8               THE COURT:     Hold on a second.     Let me catch up to

 9   you.   10 point what?

10               MR. BENGERA:     It's Tab 10.    It's the page that the

11   tab sticker is on.        And it's Section 14.2.        And we're in the

12   supply agreement.        And it's the same sentence that Mr. Long

13   read to you a moment ago that says -- and I'm on the second

14   line towards the end -- For the avoidance of doubt, the buyer

15   shall not be authorized by the supplier to, quote, use any

16   BOTR Blacksmith trademark on any product not procured from

17   supplier.

18               So the issue of whether a product is still a product

19   if it doesn't have the trademark is answered in that section,

20   in that sentence; because it wouldn't say, using a trademark

21   on a product, if it wasn't the case that it was still a

22   product without the trademark.         If removing a trademark made

23   it no longer a product, you wouldn't say, using any trademark

24   on a product, because it's not a product without the

25   trademark.
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 1               So I think that's -- I mean, I think it's dis -- at

 2   worse it's -- at best it's disingenuous of OTR to sit here now

 3   and say that if they just take the trademark off it's not a

 4   product.     And I think the evidence based on what they were

 5   doing in the months leading up to the settlement shows that it

 6   was more than disingenuous, it was fraudulent inducement.

 7               THE COURT:     Anything else, sir?

 8               MR. BENGERA:     Yes.

 9               THE COURT:     So as it relates to -- two things really,

10   I guess.

11               As it relates to the fraud claim generally, what

12   about the allegation that your client has continued to take

13   payments from the defendant pursuant to that contract even

14   after this lawsuit was filed?           Is that true?

15               MR. BENGERA:     I think that we've received -- I don't

16   have that in front of me, but I think we've received the

17   payments.     And I assume that we've continued to accept them.

18               THE COURT:     So what does that mean?         I mean, I know

19   what it means under Georgia fraud law, which is, you can't now

20   try to undo the contract.           I mean, that's fairly easy to

21   decide.

22               But as it relates to Rule 60, if you're claiming

23   fraud and you want to set aside the contract -- you want

24   release from the judgment.           The judgment was premised on a

25   contract.     If you can't set aside the contract under regular
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 1   Georgia law that exists between the parties because you are

 2   continuing to receive the benefit of the contract, then are

 3   you able to utilize that under Rule 60 anymore?

 4            MR. BENGERA:     So I think that the key here is that

 5   under 60 -- so we're bringing this motion under 60(b)(3) and

 6   also 60(b)(6).

 7            60(b)(3) itself has three terms.             It refers to fraud,

 8   it refers to misrepresentation and it refers to misconduct.

 9            THE COURT:     Hold on a second.

10            MR. BENGERA:     And I --

11            THE COURT:     I'm sorry.    60(b)(3) refers to fraud?

12            MR. BENGERA:     60(b)(3) itself has three terms --

13   fraud, misrepresentation and -- or -- I think it's "or

14   misconduct".     So any one of those three is sufficient to

15   invoke 60(b)(3).

16            The rescission and the fraud component that Your

17   Honor is referring to --

18            THE COURT:     I'm sorry.    What's the misrepresentation?

19            MR. BENGERA:     I mean, the failure to disclose the

20   premise of OTR's intended conduct, which was --

21            THE COURT:     That's fraud.     I mean, misrepresentation

22   is if I tell you something that's not true.             But you go to the

23   contract for that.    So it's all going to be defined what's in

24   the contract.    No private discussions are going to matter as a

25   matter of Georgia law.     I don't think federal law, procedural
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 1   law is going to let you undo Georgia's substantive law on

 2   that.

 3               So misconduct, what would be the misconduct?             The

 4   same thing?

 5               MR. BENGERA:     The same thing.      I think the point is

 6   that misrepresentation and misconduct are lesser burdens than

 7   fraud.   And there are two cases, both of which I believe are

 8   cited in our proposed order and conclusions of law.                It's the

 9   U.S. V Wong Kim Bo.        It's 472 F.2d 720.      It's a Fifth Circuit

10   case from 1972, that says:        "A misrepresentation need not rise

11   to the same level of false statements made with the intent to

12   deceive."

13               And then a second case, United States V Douglas A-26B

14   Aircraft.     That's 662 F.2d 1372.       That's an Eleventh Circuit

15   case from 1981.     And it says:       "At least one decision in the

16   Fifth Circuit has afforded relief for misrepresentation under

17   60(b)(3) despite the absence of, quote, a deliberate evil

18   purpose to misstate or conceal or thereafter engage in

19   foot-dragging lest the truth might be uncovered."

20               THE COURT:     Here's my point:      My point is, nothing

21   that was said outside the terms of the contract is going to

22   matter, unless it's ambiguous.          We have -- because of the

23   merger clause.     I mean, you've got two of them, apparently, in

24   this agreement, at least.        So you're not going to be able to

25   point to anything else.
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 1            MR. BENGERA:     I think that at -- again, at best

 2   there's an ambiguity about -- I mean, that's what we're

 3   fighting about, is whether those two are the same product even

 4   if one has scrubbed the Blacksmith trademark.

 5            THE COURT:     Well, maybe there's an ambiguity.            I

 6   mean, you don't just get to decide that there is.           I mean,

 7   that's -- yeah, but that's -- but still, that's dependent on

 8   the terms of the contract.     We don't look outside the contract

 9   to determine if there's ambiguity.       You look at the contract.

10            You pointed out something that's helpful to your side

11   for sure when you pointed to 14.2 and said, the buyer shall

12   not be authorized by the supplier -- you're the supplier in

13   this agreement -- to use any BOTR trademark on any products

14   not procured from the supplier.

15            Of course, there's another explanation for that.                In

16   other words, your argument is:      Well, if it's not, as the

17   defendants say, a product unless it includes the trademark on

18   it -- because that's their position.       I guess at least a

19   part -- then you wouldn't really even need to say that.

20            But there is another explanation.           And that is

21   that -- hence my question earlier to Mr. Cobb about, is it

22   possible that you can buy products from other people, the same

23   products that came from your client.       And I don't think I can

24   take testimony outside the contract for that point, if you

25   understand what I'm saying.
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 1            I mean, because I guess in the abstract -- let me use

 2   an example.     I'm guessing you're too young to remember --

 3   maybe you do.    So Coca-Cola -- I'm drawing on my own

 4   experience here.     Coca-Cola or Pepsi will give schools and

 5   nonprofits the coolers, the Coke machine, the Pepsi machine.

 6   Back when I was a kid, it was a thing you opened up and

 7   reached down and grabbed it out of the cold water.             And I

 8   promise you, it was a lot better.        But that might have been

 9   because it was glass, and so it got colder.

10            MR. BENGERA:     And they used real Cane sugar back

11   then.

12            THE COURT:     Absolutely.

13            But incidentally, you know, part of the agreements

14   when they give you these free devices, these free chillers, is

15   that you not only sell only their products and put their

16   products in -- you don't put Coke in the Pepsi machine -- but

17   that you also buy the product from them directly and you don't

18   buy it -- whatever the precursor was for Sam's and Costco, you

19   don't go buy it wholesale there, you buy it from them.

20            So, you know, there certainly exists the possibility,

21   just in the abstract, that tires could be purchased from

22   another person, from another entity that are in fact the

23   plaintiff's tires.     And maybe the plaintiff would discount

24   those tires to one person or the other, give a better price

25   than maybe they would give, you know, the defendant in this
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 1   particular case.

 2               And so this clause then could be -- with that being a

 3   possibility maybe -- it didn't happen here -- be a possibility

 4   to make sure that the profit that you've negotiated to make

 5   from the defendant's use of your tires is not lost because

 6   they then go buy the tires that has your trademarks on it from

 7   someone else, hence, that you've got to buy the products in

 8   this particular clause from us that has the trademark.

 9               I'm just suggesting -- I'm coming up with a

10   hypothetical, but I'm just suggesting that the language itself

11   has to be read in -- for what it is and I have to find

12   ambiguity inherently in that language before I can find any

13   testimony on -- try to resolve that ambiguity as even

14   possible.

15               But I understand your arguments about -- I think in

16   total.

17               And I assume you agree with your colleague, you know,

18   Mr. Long, that -- but ultimately for you to prove that there's

19   been misconduct or there's been fraud, that there's been --

20   what was the other one?

21               MR. BENGERA:     Misrepresentation.

22               THE COURT:     -- misrepresentation, it really kind of

23   depends on whether or not what the plaintiff -- excuse me,

24   what the defendant is selling does violate your trade dress or

25   your trademarks or your designs.         It's got to be -- because if
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 1   it doesn't, then there really is no claim just because they're

 2   selling a product that's a lot like yours; correct?

 3            MR. BENGERA:     Correct.

 4            THE COURT:     Okay.    So in some regards, it really

 5   doesn't matter which lawsuit we're proceeding in.             That's one

 6   of the -- Mr. Cobb's arguments.        I mean, we're going to have

 7   to decide that issue regardless; correct?

 8            MR. BENGERA:     We're going to have to decide that

 9   issue regardless.     I think Your Honor made the valid point

10   about the aesthetics of plaintiff and defendant, and maybe

11   that shouldn't carry the day.        But we would submit that we

12   would want to tell our story to the jury first in the same way

13   that Your Honor recognized the significance of that.

14            And also I think would -- if Your Honor -- we brought

15   this motion thinking that -- not thinking, but hoping that

16   Your Honor would find for us on the fraud component, which if

17   Your Honor were inclined, would certainly streamline the

18   proceedings.    It would allow Your Honor to dismiss the second

19   filed case on account that if there's no agreement to enforce,

20   then there's also no reason to entertain a DJ of non-breach.

21            THE COURT:     Well, except that you don't have to have

22   an agreement.   I mean, if you contend that someone's product

23   violates your rights and they say it doesn't, then they can

24   come to court and ask for declaratory judgment because you're

25   threatening to sue them.        You are.   I mean, they don't need to
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 1   have an agreement for that.

 2             MR. BENGERA:     Right.     But they're referring here to

 3   an agreement.    So if there was never an agreement, there's

 4   nothing to -- there are no rights to enforce and we'd be back

 5   to litigating the claims --

 6             THE COURT:     Except their general right of

 7   competition.     You say stop it, you're violating our rights.

 8   And they say, we're not.         And when there's uncertainty, then

 9   you're allowed to come to court and file the declaratory

10   judgment to start with.      You don't have to wait until you get

11   sued, for example.

12             MR. BENGERA:     Absolutely.      I mean, I think some of

13   their claims might survive.         I think that the DJ claims would

14   become -- would be mooted if Your Honor --

15             THE COURT:     Well, to the extent it's talking just

16   about the contract itself.        But they're -- aren't they also

17   asking for declaratory judgment that their product doesn't

18   infringe on your products?

19             MR. BENGERA:     I think there are claims to that

20   effect.

21             THE COURT:     Yeah.    Okay.   Thank you.

22             Let me -- I'm going to end the conversation right now

23   and just say this:     As it relates -- let me back up and say

24   this point.     And Mr. Cobb highlighted this case that was

25   argued on Tuesday maybe.         I wish I could say, oh, yeah, I was
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 1   really aware about that.    I might have been aware that the

 2   TikTok case was going be argued or that the PornHub case was

 3   going to be argue, but I promise you I did not know that they

 4   were going to argue about Rule 60.

 5              But the point is one for us to consider.        And I guess

 6   I would say this to the plaintiff:       You may be right on all

 7   what you argue about Rule 60, but you might not be.

 8              And I think just generally parties, lawyers, should

 9   be very careful in asking a court to take a step to take an

10   action that might not be in their best long-run interest.

11              So for example, let's say that Mr. Cobb is right and

12   I dismiss or consolidate -- let's say dismissed the

13   defendant's claim and say we're traveling under the 23 case

14   and we're going to deal with the fraud claims, and assuming

15   the plaintiff prevails on the trademark-related claims and

16   trade-dress related claims, but then the Supreme Court were to

17   determine, no, you don't exist, you can't do it that way,

18   there's no jurisdiction for that, Rule 60 doesn't apply, maybe

19   it doesn't apply in this case because you didn't act quickly

20   enough, so that's kind of irrespective of the Supreme Court's

21   ruling, but then maybe we've lost all this time kind of

22   running in place like Barney Rubble.

23              You probably are too young to remember Barney Rubble,

24   I guess.

25              MR. BENGERA:   Flintstones?
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 1             THE COURT:     You watched Flintstones?

 2             MR. BENGERA:     I have young children, so yes.

 3             THE COURT:     Okay.   All right.    Well, I'm glad to know

 4   they still watch some of the good stuff.

 5             You know, we've run in place and really gotten

 6   nowhere at the end of the day.       But I can say the same thing

 7   as it relates to Mr. Cobb and his client's position as well.

 8             At the end of the day, the issue is -- all of it

 9   comes back to is, the product that the defendant is selling

10   doesn't violate the plaintiff's trade dress and trademarks and

11   design rights, their intellectual property rights.            Because if

12   it does, no matter what the contract itself that they used to

13   settle the original claim says, then, you know, the defendants

14   will have a problem that they have to deal with because the

15   plaintiff will be able to get some relief in this case.

16             So I'm not going to endeavor to decide today as it

17   relates to the 23 case whether or not, you know, it's primary

18   or whether it should survive at all.          So I am going to -- let

19   me open the file and look at it so I'm speaking on the record

20   correctly.

21             So I am going to -- as it relates to the 23 case, I

22   am going to deny without prejudice the motion to reopen that

23   case.   That case will remain closed for the time being.               And

24   I'm just simply going to defer ruling on those issues at this

25   point in time.
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 1              The reason I am denying it without prejudice is

 2   because of the six-month rule.      I don't anticipate ruling on

 3   this anytime in the next six to nine months.          That motion

 4   might not appear on -- the motion to reopen was filed -- the

 5   motion was filed on September the 23rd.        So it would appear on

 6   the six-month list for me to rule on by -- if it remains in

 7   active motion, to rule on by the end of March.          And I don't

 8   anticipate ruling on it by the end of March.          So I'm going to

 9   terminate without prejudice that motion.         We'll do that in a

10   minute order.    Meaning that we can and will revisit all of

11   those issues in this case at some point.

12              As it relates to the motion to dismiss filed by the

13   plaintiffs to -- declaratory judgment action, the Court is not

14   going to dismiss nor is the Court going to consolidate.               I'm

15   also going to deny that motion at this point in time without

16   prejudice for the same reasons that I outlined.

17              We're going to proceed to litigation under the 24

18   case.    So we'll do that by minute order.

19              So the obligation for the plaintiff to answer the

20   petition filed by the defendant and to file any counterclaims

21   you wish to file, that time period will begin to run from

22   today.    I'm not exactly sure if you get 14 days from today.

23   I'm thinking 14 days from today.      So you need to go ahead and

24   file your response.

25              I'm not, obviously, capable today in trying to make
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 1   any kind of conclusion, nor really is anyone asking, about

 2   whether or not what the defendant is doing is acceptable,

 3   whether or not any of the plaintiff's rights have been

 4   violated.

 5               You know, this really kind of puts us back to square

 6   one of the original litigation.

 7               And there was a reason why the parties settled the

 8   case before.        Maybe the defendant's reason was because they

 9   felt like they could do what they're now doing and be fine.              I

10   can't answer the question to that today.

11               I would encourage the parties to continue to try to

12   figure out if there's a way to resolve this.

13               I'm sorry.     I've got general counsel for the

14   defendant here and maybe some other people from the defendant

15   here.

16               What about from the plaintiff?        Anybody here for the

17   plaintiff?

18               Okay.    Here's what I tell you:      Get ready to pay for

19   a lot of attorney's fees and expert fees, because that's where

20   we're going.        I mean, I wish I could -- I wish this was a

21   small claims court kind of situation where you could just come

22   in here and state your case to a judge and walk out of here

23   with a judgment, but that's not the way intellectual property

24   litigation is.       And y'all know that because you settled it

25   before, thinking you had it settled finally and completely.
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 1            But y'all got stuff to fight about.          And, you know,

 2   the lawyers have a right to be paid and the experts have a

 3   right to be paid.

 4            I make no more or no less money one way or the other.

 5   But I can't decide these on a summary basis.          So get ready to

 6   fund the litigation.     And if you work it out again in a way

 7   that's successful to both parties, then I'm certainly happy to

 8   hear that.    But otherwise, it's time to file your answers and

 9   your counterclaims, have your Rule 26 conference in the 24

10   case, and get ready to fight about the substantive issues.

11            All right.     Thank y'all.

12            MR. LONG:     Thank you, Your Honor.

13            MR. COBB:     Thank you, Your Honor.

14                (The proceedings concluded at 11:36 a.m.)

15

16

17                         Reporter's Certification

18   I certify that the foregoing is a correct transcript from the

19   record of proceedings in the above-entitled matter.

20
                              /S/Geraldine S. Glover, RPR, CRR, RCR
21                            Official Court Reporter
                              United States District Court
22                            Northern District of Georgia

23   Date:   January 19, 2024

24

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